      Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.11 Page 1 of 25


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      8                       SUPERIOR COURT FOR THE STATE OF CALIFORNIA

      9                                   FOR THE COUNTY OF SAN DIEGO

     10

     11

     12    LORETTA SCHWEINSBURG, on behalf
                                                           Case No:    37-2022-000D6951-C U-BT-CTL
           of herself and all others similarly situated,
     13

     14                   Plaintiff,                       CLASS ACTION COMPLAINT VIOLATIONS OF THE
                                                           UN.FAIR COMPETITION LAW AND FOR BREACH OF
     15        V.                                          IMPLIED W ARRA.t"ITY
     16
           GENERAL MILLS, INC. and GENERAL
     17    MILLS SALES, INC.,                              No Jury Demand

     18                   Defendants.

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                                                 CLASS ACTION COMPLAINT
         Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.12 Page 2 of 25




         1                                                                  TABLE OF CONTENTS

         2   I.      JURISDICTION AND VE.NTJE ....................................................................................................... 1
             II.     NATURE OF THE ACTION ........................................................................................................... 1
         3
             III.    PARTIES .......................................................................................................................................... 2
\•;··    4
             IV.     NATURE OF TRANS FAT .............................................................................................................. 2
         5           A.         There Is a Well-Established Scientific Consensus That Trans Fat Is Extremely
                                Harmful. ................................................................................................................................ 3
         6
                     B.         The Artificial Trans Fat General Mills Added to Hamburger Helper Caused
         7                      Cardiovascular Disease ......................................................................................................... 5

         8           C.         The Artificial Trans Fat General Mills Added to Hamburger Helper Caused Type-2
                                Diabetes...................       . ................................................................................................ .       7
         9           D.         The Artificial Trans Fat General Mills Added to Hamburger Helper Caused Breast,
        10                      Prostate, and Colorectal Cancer. ........................................................................................... 7
                     E.         The Artificial Trans Fat General Mills Added to Hamburger Helper Caused
        11                      Alzheimer's Disease and Cognitive De.cline ........................................................................ 8
        12           F.         The Artificial Trans Fat General Mills Added to Hamburger Helper Caused Organ
                                Damage ................................................................................................................................. 9
        13
                     G.         PHO Use is Unlawful in California, the United States, and European Nations . ................ 10
        14 V.        PLAINTIFF'S PURCHASES OF HAMBURGER HELPER ........................................................ 11
        15 VI.       THE USE OF PHO IN HAMBURGER HELPER WAS UNFAIR. .............................................. 12

        16 VII.      DEFENDANTS' PRACTICES WERE "UNLAWFUL" WITHIN THE MEANING OF
                     THE CALIFORNIA UNFAIR COMPETITION LAW ................................................................. 14
        17
             VTTT.   IN.TT.JR.Y ............................................................................., ............................................................. 15
        18           A.         Acbial, Present, Physical Tnjury .......................................................................................... 15
        19           B.         Substantial and Measurable Increase in Risk of Disease and Early Death ......................... 16
                     C.         Economic Injury .................................................................................................................. 17
        20
             IX.     DELAYED DISCOVERY .............................................................................................................. 18
        21
             X.      ADDITIONAL TOLLING ALLEGATIONS ................................................................................. 19
        22 XI.       CLASS ACTION ALLEGATIONS ............................................................................................... 19
        23 XII.      PRAYER FOR RELIEF ................................................................................................................. 23
        24 XIII.     NO JURY DEMAND ..................................................................................................................... 23

        25
        26
        27
        28



                                                                      CLASS ACTION COMPLAINT
 Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.13 Page 3 of 25




  1           Plaintiff Loretta Schweinsburg, on behalf of herself, all others similarly situated, and the general

 2 public, by and through her undersigned counsel, hereby sues Defendants General Mills, Inc. and General

  3 Mills Sales, Inc. (collectively "General Mills" or "Defendants") and upon information and belief and

  4    investigation of counsel, alleges as follows:

  5                                       I.    JURISDICTION AND VENUE

  6            1.     Jurisdiction is proper because Plaintiff is a citizen of California and because all claims are

  7 asserted under the laws of California and relate to a product that ic cold in California and was purchased

  8 by Plaintiff in California.

  9           2.      Venue is proper under Bus. & Prof. Code § 17203 because General Mills conducts

10 continuous business in San Diego County and sold thousands of the product at issue in this county, and

11     because thousands of class members reside in this county, who were harmed by the conduct of Defendants.

12                                        II.    NATURE OF THE ACTION

13            3.      General Mills manufactures, distributes, and sells Hamburger Helper, Tuna Helper, and

l4     Chic.ken Helper (collectively "Hamburger Helper"), a line of packaged food products which contained

15     partially hydrogenated oil ("PHO").

16            4.      Artificial trans fat is a toxin and carcmogen for which there are many safe and

l 7 commercially viable substitutes. During the Class Period, Defendants added artificial trans fat to

18     Hamburger Helper in the form of partially hydrogenated oil ("PHO").

19            5.      In orders ciateci November 8, 2013 and June 17, 2015, the FDA determined that PHO is

20     unsafe for use in food. Tentative Determination Regarding Partially Hydrogenated Oils, 78 Fed. Reg.

21     67169 (Nov. 8, 2013) and Final Determination Regarding Partially Hydrogenated Oils, 80 Fed. Reg.

7.?.   146-'iO (.Tnne 17, :?.015). Yet Defendants continued to incorporate thic illegal, dangerous additive into

23     Hamburger Helper, even after the FDA declared it unsafe for use in food.

24            6.      Even before the FDA's two orders, however, PHO was an unlawful food additive under

25     both California and federal law.

26            7.      Although safe, low-cost, and commercially acceptable alternatives to PHO existed

27     throughout the Class Period, Defendants unfairly elected   1101   to use these safe alternatives in Hamburger

28     Helper in order to increase profit at the expense of the health of consumers.



                                                CLASS ACTION COMPLAINT
 Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.14 Page 4 of 25




 l          8.      Plaintiff Loretta Schweinsburg repeatedly. purchased Hamburger
                                                                         .
                                                                                   Helper from California

 2   grocery stores during the Class Period defined herein, for her personal and household consumption.

 3          9.      This action is brought to remedy Defendants' unfair and unlawful conduct. On behalf of

 4   the class defined herein, Plaintiff seeks an order compelling Defendants to, inter alia: ( 1) award Plaintiff

 5   and the Class members restitution and (2) pay costs, expenses, and reasonable attorneys' fees.

 6                                                III.   PARTIES

 7           10.    Defendants General Mills, Inc. and General Mills Sales, Inc. ("General Mills") are both

 8   Delaware corporations headquartered in Minn·esota. Hamburger Helper is sold in stores throughout

 9   California.

             11.    During the class period, General Mills owned, manufactured, distributed, and sold

11   Hamburger Helper.

12           12.    Plaintiff Loretta Schweinsburg is a citizen of California who repeatedly purchased

13   Hamburger Helper from California groce1y stores during the class period for personal and household

14   consumption.

15                                      IV.     NATURE OF TRANS FAT

16           13,    Artificial trans fat is manufactured via an industrial process called partial hydrogenation, in

17   whid1 hydrogen atoms aJe added to nonual vegetable oil by heating the oil to temperatures above 400°F in

18   the presence of ion donor catalyst metals such as rhodinm, rnthenium, anci nir.ke:1. 1 The resulting prociuct

19   is known as partially hydrogenated oil, or PHO.

20           14.    PHO was invented in 1901 and patented iii 1902 by German chemist Wilhelm Normann.

21   PHO molecules chemically differ from the natural fat molecules in other food products. 2

22          15.     Natural fot, except the trace amount::; of natural trans fot from ruminant animal sources like

23   beef, milk, and mutton, comes in two varieties: ( 1) fats that lack carbon double bonds ("saturated fat"); and

24

25
     1 See Alice H. Lichtenstein, Trans Fatty Acids, Plasma Lipid Levels, and Risk of Developing
26   Cardiovascular Disease, 95 CIRCULATION 2588, 2588-90 ( l 997).
27   2See Alberto Ascherio et al., Trans Fatty Acids & Corona,y Heart Disease, 340 NEW ENG. J. MED. 94, 94-
     8 (1999). See also Walter Willett, The Scientific Case/or Banning Trans Fats, SCIENTIFIC AMERICAN,
28   available at www.scientificamerica11.com/article/the.. scientificNcase~for•banning~tra:nsufats/ (last visited
     February 18, 2022).
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                                              CLASS ACTION COMPLAINT
 Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.15 Page 5 of 25




 1 (2) fats that have carbon double bonds. Trans fat, in contrast to cis fat, has carbon double bonds with

 2   hydrogen atoms on opposite sides of the carbon chain.

 3        Sa!llratedfat                              Cis fatty add
                                                                                                               Trans fatty add

                                                                                •      0       •


 : c;:i
 6
                 IIIIIIfI
                 e = Hyarogen alom e =Carbon atom           e   O
                                                                                l- . .

                                                                     Hydrogen atom •
                                                                                       •       41
                                                                                                    fl COOHJ
                                                                                                       __


                                                                                           = Carbon atom              e; Hydrogen atom e =Carbon atom
 7                   16.        PHO was initiaHy a "wonder product" attractive to the processed food industry because it

 8   combined the low cost of unsaturated cis fat with the flexibility and long shelf life of saturated fat. Like

 9   processed cis fat, PHO is manufactured from low-cost legumes,3 while saturated fat is derived from

1O relatively expensive animal and tropical plant sources. 4
11                   17.        As detailed herein, PHO causes cardiovascular disease, diabetes, cancer, and Alzheimer's
12   disease, and accelerates memory damage and cognitive decline. These risks were well known during the
13   entire Class Period, and at no point during the Class Period was there ever a consensus that PHO was safe
14   to use, neither in general nor as an ingredient in packaged food products.
15                  18.        Jn using PHO in Hamburger Helper, Defendants failed to submit a food additive petition
16   and failed to undertake a GRAS self-determination.
17          A. There Is a Well-Established Scientific Consensus That Trans Fat Is Extremely Harmful.
18                  19.        The National Academies of Science were charted by an act of Congress, signed by President

19   Lincoln in 1863. Under that charter, in 1970, the National Academy of Medicine was created. In a 2005

20   report, under its former name of the Institute of Medicine, it·concluded there was "no safe level" of PHO

21   or artificial trans fat intake. 5 Therefore, in 2005, there was no consensus that PHO was a safe ingredient to

22   use in food. To the contrary, the consensus was that it is unsafe.

23                  20.        In addition, "trans fatty acids are not essential and provide no known benefit to human

24

25

26   3   e.g., corn oil, cottonseed oil, soybean oil, peanut oil
27   4   e.g., butter, cream, tallow, palm oil, coconut oil
28   5Food&. Nutrition Bd., Inst. of Med., Dietary Reference Intakes For Energy, Carbohydrate, Fiber, Fat,
     Fatty Acid~·, Cholesterol, Protein, and Amino Acids (2005).
                                                                                       3

                                                         CLASS ACTION COMPLAINT
 Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.16 Page 6 of 25




     health." 6 Thus, while IOM provided safe maximum levels for other food elements like saturated fat, in

 2 could not and declined to provide one for trans fat when requested by the FDA, the reason being that "any
 3   incremental increase in trans fatty acid intake increases the risk of CHO." id. (emphasis added).

 4            21.    In 2006, Dariush Mozaffarian of Harvard Medical School wrote in the New England Journal

 5   of Medicine, "the consumption of trans fatty acids results in considerable potential harm but no apparent

 6   benefit. " 7

 7            22.    Julie Louise Gerberding, who served eight years as the head of the United States Centers

 8   for Disease Control and Prevention, wrote in 2009:

 9          The scientific rationale fbr eliminating exposure to artificial trans fatty acids in foods is rock
            solid. There is no evidence that they provide any health benefit, and they ai-e certainly harmful.
10
            These compounds advers~ly affect both low- and high-density lipoprotein cholesterol levels
11          and increase the risk for coronary heart disease, even at relatively low levels of dietary intake.
            Gram for gram, trans fats are far more potent than saturated fats in increasing the risk for herut
12
            disease, perhaps because they also have pro-inflammatory properties and other adverse effects
13          on vascular endothelium ... Eliminating exposure to these dru1gerous fats could have a powerful
            population impact-potentially prot~cting 30,000 to I 00,000 Americans from death related to
14
            heart disease each year. 8                             ·

15            23.    Dr. Mozaffarian further writes:
16          Given the adverse effects of trans fatty acids on serum lipid levels, systemic inflammation, and
17          possibly other risk factors for cardiova_scular disease_ and the positive associations with the risk
            of CHD, sudden death from cardiac causes, and possibly diabetes, the potential for harm is
18          clear. The evidence and the magnitude of adverse health effects of trans fatty acids are in fact
19          far stronger on average than those of food contaminants or pes_ticide residues, which have in
            some cases received considerable attention. 9
20
              24.    Tn ?.011, Walter Willet, also a professor at Harvard Medical School, described Defendants'
21

22
23
24   6 .FMd Labeling;   Health Claim; Phytosterots· and Risk ofCoronary Heart Disease,· Proposed Rule, 75 f.cd.
     Reg. 76526, 76542 (Dec. 8, 2010).                              ·
2 5 7 Dariush Mozaffarian et al., Trans Fatty Acids and Cardio·vascular Disease, 354 N. ENGL. J. MED: 1601,
26. 1608-1609 (2006).
     8Julie Louise Gerberding, Safer Fats for HP.~lth;er Hearts: The Case for Eliminating Dietary Arttficial
27   Trans Fat Intake, 151 ANN.INTERN.MED.137-138(2009).
28   9 Dariush Mozaffarian et al., Trans Fatty Acids and Cardiovascular Disease, 354 N. ENGL. J. MED. 1601
     (2006).
                                                             4

                                               CLASS ACTION COMPLAINT
 Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.17 Page 7 of 25




 1 behavior of selling food made with PHO as "a food safety issue ... this is actually contamination." 10

 2             25.    The views of t~ese experts, and many others, show that, even before the FDA formally

 3   declared PHO to be unsafe for use in food in 2015, its use was still unlawful because there was not a

 4   consensus of scientific experts that PHO was a safe food additive.

 5         B. The Artificial Trans Fat General Mills Added to Hamburger Helper Caused Cardiovascular

 6             Disease.
               26.    Trans fat raises the risk of CHD more than any other known consumed substance. 11
 7
               27.    A I 999 estimate published in the New England Journal of Medicine found that removing
 8
 9   PHO fiuw Llit American diet ''would prevent approximately 30,000 premature coronary deaths per year,

10   and epidemiologic evidence suggests this number is closer to 100,000 premature deaths annually." 12

               28.    Dy raising LDL levels and lowering .HDL levels, trans fat causcG a wide variety of dangerous
11
12   heart conditions, including vasoconstriction, coronary artery disease, and primary cardiac arrest.

               29.    In a 2005 joint Dietary Guidelines Advisory Committee Report, the Department of Health
13
14   and Human Services an<l the U.S. Department of Agriculture recognized that "[t]he relationship between

15   trans fatty acid intake and LDL cholesterol is direct and progressive, increasing the riok of cardiovascular

     disease." 13
16
               30.    The American Heart Association warns, "trans fats raise your bad (LDL) cholesterol levels
17
18   and lower your good (HDL) cholesterol levels. Eating trans fats increases your risk of developing heart

     disease." 14
19
               31.    Even further back, in 2003, a review of literature on the connection between the
20
     consumption of artificial trans fat and coronary heart disease, the FDA concluded:
21
             [B]ased on the consistent results across a number of the most persuasive types of study designs
22
23
     10   Rebecca Coombes, Trans fats: chasing a global ban, 343 BRITISH MED. J. (2011 ).
24   11   Mozaffarian, 354 NEW ENG. J. MED. at 1603.
25   12Alberto Ascherio et al., Trans Fatty Acids & Coronary Heart Disease, 340 NEW ENG. J. MED. 94, 94-8
26   (1999).
     13 Dcp't ofliealth & Human Scrv. & U.S. Dcp't of Agric., 2005 Dietary Guidelines Advif:ory Committee

27   Report, Section 10 (2005).
28   14 Am. Heart Ass'n., Trans Fats, available at https://www.heart.org/en/healthy--living/healthy-eating/eat-

     smart/fats/trans-fat (Jast visited February 15, 2022).
                                                           5

                                              CLASS ACTION COMPLAINT
 Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.18 Page 8 of 25




 1           (i.e., intervention trials and prospective cohort studies) that were conducted using a range of
             test conditions and across different geographical regions and populations . . . the available
 2
             evidence for an adverse relationship between trans fat intake and CHD risk is strong. 15
 3             32.    The FDA concluded in 20 IO that "there have been no reports issued by authoritative sources
 4   that provide a level of trans fat in the diet ... below which there is no risk of [Coronary Heart Disease]."
 5   75 Fed. Reg. 76526, 76542 (Dec. 8, 20 I 0). Rather, there "ia a poaitive linear trend between trana fatty acid
 6   intake and L.DL cholesterol concentration, and therefore ther~ is a positive relationship between trans fatty
 7   acid intake and the risk of CHD." Id.
 8             33.    A study publis~ed in American Heart Association's Circulation found that the largest
 9   consumers of trans fat have t.hf:ee times the risk of suffering primary cardiac arrest, even after controlling
1O for a variety of medical and lifestyle risk factors. 16
11                    Australian researchers observed that heart attack patients possess elevated amounta of tram,
12   fat in their adipose tissue (stored body fat) compared to controls. The effects of consuming trans fat ate
13   therefore shown to be long-lived because of its ·storage within the body in place of natural fats. 17
14             35.    Cholesterol dysregulation and systemic inflammation/immw1e system dysregulation are the
15   most important pathways through which PHO consumption causes morbidity and death. Another route fr,

16 by promoting atherosclerosis by degrading the function of TG-F-13, a protein responsible for preventing the
17   development of atherosclerotic lesions. 18
18             36.    TGF-~ also functions to suppress cancerous tumors. Degradation ofTGF-J3 function is also
19   likely one route by which artificial trans fat consumption promotes cancers in fatty organs and the digestive
20   system. Id.
21

22
23

24   15   FDA, Final Rule, 68 Fed. Reg. 41433; 41445 (July I I, 2003).
25   16 Rozenn N. Lemaitre et al., Cell Membrane Trans-Fattj, Acids'andthe Risk of Prima,y Cardiac ~rrest,
     I 05 CIRCULATION 697, 697-701 (20q~)-                                                         .
26
     17 Peter M. Clifton et al., Trans Fat1y Acids In Adipose Tissue And The Food ,')'upply Are Associated With

27   Myocardial Infarction. 134 J. NUTR. 874, 874-79 (2004).
28   18 Chen, C.L. ot al., A mechanism by which diatary trans fats cause atherosolarosis, J. NUTll. BIOCII13MIE:TllY

     22(7) 649-655(2011).
                                                             6

                                              CLASS ACTION COMPLAINT
 Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.19 Page 9 of 25




           C. The Artificial Trans Fat General Mills Added to Hamburger Helper Caused Type-2

 2             Diabetes.
               37.    Artificial trans fat also causes type-2 diabetes. 19
 3
               38.    In particular, trans fat disrupts the body's glucose and insulin regulation system by
 4

 5   incorporating itself into cell membranes, causing the insulin receptors on cell walls to misform and

 6   malfunction, and in tum elevating blood glucose levels and stimulating further release of insulin.

               39.    Researchers at Northwestern University's medical school found that mice show multiple
 7

 8   markers of type-2 diabetes after eating PHO for only four weeks. 20

               40.    By the eighth week of _the study, mice fed the high trans fat diet showed a 500% increase
 9

10   compared to the control group in hepatic interleukin- Ip gene expression, one such marker of diabetes,

     indicating the extreme stress even short-term exposure to artificial trans fat places on the body. Id.
11
              41.     A 14-year study of 84,204 women found that for every 2 percent increase in energy intake
12
13   from artificial trans fat, the relative risk of type-2 diabetes was increased by 39 percent. 21

           D. The Artificial Trans· Fat General Mills Added to Hamburger Helper Caused Breast,
14
              Prostate, and Colorectal Cancer.
15
              42.     Trans fat is a carcinogen which causes breast, prostate, and colorectal cancer.
16
              43.     A 13-year study of 19,934 French women sho\ved 75 percent more women contracted breast
17
     cancer in the highest quintiie of trans fat consumption than did those in the lowest. 22
18
              44.    ·Ina 25-year study of 14,916 American physicians; those in the highest quintile of trans fat
19
     consumption had more than double the risk of developing prostate cancer than the doctors in the lowest
20

21

22

23   19 Am. Heart Ass'n., Trans Fats, available at https://www.heart.org/en/healthy-living/healthy-eating/eat-

24   smart/fats/trans-fat (last visited February 15, 2022).
     20 Sean W. P. Koppe et al., Trans fat feeding results in higher serum alanine aminotransferase and
25   increased insulin resistance compared with a standard murine high-fat diet, 297 AM. J. PHYSIOL.
26   GASTROINTEST LIVER PHYSIOL. 3 78        (2009).
     21   Jorge Salmeron et al., Dieta,y Fat Intake and Risk of Type 2 Diabetes in Women, 73 AM. J. CLINICAL
27   NUTRITION     1019, 1023 (2001).
28   22Veronique Chajes et al., Association betv.>een Serum Trans-Mo11ounsaturatcd Fatty Acids and Breast
     Cancer Risk in the E3N-EPIC Study. 167 AM. J. EPIDEMIOLOGY 1312, 1316 (2008).
                                                              7

                                                CLASS ACTION COMPLAINT
                   Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.20 Page 10 of 25




                     1 quintile. 23

                    2            45.     A study of 1,012 American males observing trans fat intake and the risk of prostate cancer

                    3    found "[c]ompared with the lowest quartile of total trans-fatty acid consumption, the higher quartiles gave

                    4    odds ratios (ORs) equal to 1.58," meaning those in the highest quartile are 58% more likely to contract

                    5    prostate cancer than those in the lowest. 24

                    6            46.     A 600-person study found an 86 percent greater risk of colorectal cancer in the highest trans

                    7    fat consumption quartile. 25

                    8            47.     A 2,910-person study found "trans-monounsaturated fatty acids ... were dose-dependently

                    9    associated with colorectal cancer risk," which showed "the importance of type of fat in the etiology and

                   10    prevention of colorectal cancer."26

                   11         E. The Artificial Trans Fat General Mills Added to Hamburger Helper Caused Alzheimer's

                   12            Disease and Cognitive Decline.
                                 48.     Trans fat causes Alzheimer's disease and cognitive decline.
                   13
                                 49.     In a study examining 815 Chicago area seniors, researchers found "increased risk of incident
                   14
                  15     Alzheimer disease among persons with high intakes of .... trans-unsaturated fats. " 27

                                 50.     The study "observed a strong increased risk of Alzheimer disease with consumption of
                  16
                  17     trans-unsaturated fat." Id.

                                 51.     In a study of 1,486 women with type-2 diabetes, researchers found "[h]igber intakes of. ..
                  18
                         trans fat since midlife ... were [] highly associated with worse cognitive decline .... " 28
                  19

                  20

                  21     23Jorge Chavarro et al., A Prm,]Jective Study<~{Blood Traos Fatty Acid Levels and Risk ofProstate Cancer.
                         47 PROC. AM. Assoc. CANCER RESEARCH 95, 99 (2006).
                  22
                         24Xin Liu et al., Trans-Fatty Acid Intake and Increased Risk of Advanced Prostate Cancer: Modification
                  23     by RNASEL R462Q Variant, 28 CARCINOGENESIS 1232, 1232 (2007).
                         25L.C. Vinikoor et al., Consumption of Trans-Fatty Acid and its Association with Colorectal Adenomas,
                  24
                         168 AM. J. EPIDEMIOLOGY 289,294 (2008).
                  25     26 Evropi Theodoratou et al., Dietary Fatty Acids and Colorectal Cancer: A Case-Control Study, 166 AM.

..   - ........ - - 26   J. EPIDEMIOLOG_Y 1_§!(2007).... __ . _ . __ . _.         . ~. -- ~ -··          -- ·· · -- · -- - - ·
                         27Martha Clare Morris et al., Dieta,y Fats and the Risk ofIncident Alzheimer Disease, 60 ARCH. NEUROL.
                  27     194, 198-99 (2003).
                  28     28Elizabeth E. Devore et al., Dietary Fat Intake and Cogniitve Decline in Women with Type 2 Diabetes,
                         32 DIABETES CARE 635 (2009).
                                                                               8

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Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.21 Page 11 of 25




 1            52.    The study cautioned "[d]ietary fat intake can alter glucose and lipid metabolism and is

 2   related to cardiovascular disease risk in individuals with type 2 diabetes. Because insulin, cholesterol, and

 3   vascular disease all appear to play important roles in brain aging and cognitive impairments, dietary fat

 4 modification may be a particularly effective strategy for preventing cognitive decline, especially in

 5 individuals with diabetes." Id (citations omitted).

 6            53_    Artificial trans fat also damages the brains of those who consume it. A study conducted by

 7 UCSD School of Medicine of 1,018 men, mostly younger men, found trans fat consumption to be strongly

 8 correlated with impaired memory. 29 The authors of the study, appearing in Circulation, the American Heart

 9   Association's peer-reviewed journal, conclude that "[gr]eater dTFA [dietary trans fatty acid] was

10 significantly associated with worse word memory in adults aged 20-45 years, often critical years for career

11   building."

12            54.    Performing a word memory test, each additional gram per day of trans fat consumed was

13   associated with 0.76 fewer words correctly recalled. The authors suggest trans fat's well-established pro-

14   oxidant effect and its damage to cell energy processes is the pathway by which trans fat consumption

15   damages memory ability. The young men with the highest traris fat consumption scored 12 fewer recalled

16 words on the 104-word test. /di

17         F. The Artificial Trans Fat General Mills Added to Hamburger Helper Caused Organ Damage.

18            55_    Artificial trans fat molecules are readily incorporated into blood and organ cells in place of

19   natural fat molecules, which damages vital organs, including the heart, brain, and reproductive system.

20            56_    The uptake of chemically distinct trans fat into cells induces systemic inflammation, where

21   the immune system fails to recognize the distorted cells    as native to the       body and becomes persistently

22   overactive, leading to further organ damage. 30

23

24
25   29   Golomb, B. et aL, Trans Fat Consumption is Adversely Linked to Memory in Working-Age Adult~,
     CIRCULATION.    130:Al5572 (2014).
                                                       -- ..... -- -- - -· -        .   --   ______ ..,, -·   ---   .........   -
27   Lopez-Garcia et al., Consumption of Trans Fat is Related to Plasma Markers of Inflammation and
     Endothelial Dysfunction, 135 J. NUTR. 562-66 (2005);
28

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                                             CLASS ACTION COMPLAINT
Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.22 Page 12 of 25




 1           57.     Trans fat "intake increases systemic inflammation in generally healthy persons."31

 2           58.     Such inducers of inflammation "alter the functionality of tissues and organs and leads to

 3   harmful induction of different barrier systems in the body" including "the blood-brain barrier, the blood-

 4   retinal barrier, blood-nerve barrier, blood-lymph barrier and the blood-cerebrospinal fluid barrier."32

                     This industrially produced artificial tram: fat "intake increa::;c::; the risk of cardiovascular

 6   disease (CVD) and type 2 diabetes as seen in large prospective cohort studies."33

 7           60.     The inflammation it causes "leads to a wide range of tissue injuries and human diseases

 8   including cardiovascular diseases, diabetes, and multi-organ failure. " 34

 9           61.     Further, trans fat_ conswnption "contribute[s] to and aggravate[s] atherosclerotic lesions." 35

10           62.     Such "chronic low-grade systemic inflammation" also induces "DNA damage" and is one

11   "explanation for the relationship between chronic systemic inflammation and cancer. " 36

12        G. PHO Use is Unlawful in California, the United States, and European Nations.
             63.     New York City banned trans fat in restaurants in 2006.
13
             64.     A 2004 Danish law restricted all foods to fewer than 2 percent of calories from artificial
14

15
     Baer et al., Dietary fatty acids affect plasma markers of inflammation in healthy men fed controlled diets;
16   a randomized crossover study, :19 AM. J. CUN. NUTR. 969-73 (2004t
17   Mozaffarian & Clarke, Quantitative effects 011 cardiovascular risk factors and coronary heart disease risk
     of replacing partially hydrogenated vegetable oils with other fats and oils, 63 EURO. J. CLIN. NUTR. S22-
18   33 (2009);
19   Mozaffari;m P.t al, Trnns Fatty acids and systemic inflammation in heartfailura, 80 AM. J. CUN. NUTR.
     1521-25 (2004).
20
     31Mozaffarian, Trans Fatty acids and systemic inflammation in heart failure, 80 AM. J. CLIN. NuTR. 1521-
21   25 (2004).
22   32Ronnback and Hansson, The Importance and Control ofLow Grade Inflammation Due to Damage ofthe
     Cellular Barrier Systems that May Lead to Systemic Inflammation, 10 FRONTIERS IN NEUROLOGY 1-8
23   (2019).

24   33 Bendsen, Stender, Effect of industrially produr.P.d trans fat on- markers of systemic inflammation:
     evidence.from a randomized trial in women, 52 J. OF LIPID RESEARCH 1821-28 (2011).
25   34Glaros, Larsen, Macrophages and fibroblasts during in.fl.ammation, tissue damage and organ injury, 14
26   FRONTIERS IN BIOSCIENCE 3988-3993 (2009).
     35Hadj, Correlation of trans fatty acids with the severity of coronary artery, disease lesions, 17 LIPIDS IN
27   HEALTH AND DISEASE 1-13 (2018).

28   36Arimura, Ken et al., Chronic low-grade systemic inflammation causes DNA damage in the lungs ofmice,
     190 LUNG 613-20 (2012).


                                                CLASS ACTION COMPLAINT
Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.23 Page 13 of 25




 1 trans fat, a test that Hamburger Helper did not meet during the Class Period.

 2             65.    Switzerland passed the same restriction in 2008. 37

 3             66.    A study of Denmark's 2004 trans fat ban concluded it "did not appreciably affect the quality,

 4   cost or availability of food" and did not have "any noticeable effect for the consumers." 38

 5             67.    These laws were all motivated by the strong evidence trans fat is dangerous, showing that

 6   during the Class Period, there was not a scientific consensus that PHO was a safe food additive.

 7             68.    On June 17, 2015, the FDA released a declaratory order which it called its Final

 8   Determination Regarding Partially Hydrogenated Oils, finding that "PHOs arc not GRAS for any use in

 9   human food." 80 Fed. Reg. 34650, 34651 (June 17, 2015) ("Final Detennination").

               69.    The FDA 's Final Determinati01i noted that "if there are data and information that

11   demonstrates    to a reasonable certainty that no haim will result from a specific use of a PHO in food, that
12   infom1ation could be submitted as part of a food additive petitioi1 to FDA seeking issuance of a regulation

13   to prescribe conditions under which the additive may be safely used in food." Final Determination at 34664.

14             70.    On June 11, 2015 and March 7, 2017, the Grocery Manufacturers Association ("GMA")

15   submitted such a food additive petition and then an ame11ded peti.tion seeking approval to use partially;

16   hydrogenated oil in "approximately 60 food categories." On May 21, 2018, the FDA denied the amended

17   GMA petition, and stated it considered the first one abandoned. In doing so, the FDA rejected the GMA's

18   argument for a "non-linear dose response" model and noted that "the vast majority of scientific studies

19   have been consistent in their conclusions that trans fat co11sumption has a progressive and linear adverse

20   effect on blood lipids and CHD risk." Denial of Food Additive Petition, 83 Fed. Reg. 23382, 23390 (May

21   21, 2018).

22                       V.    PLAINTIFF'S PURCHASES OF HAMBURGER HELPER
23             71.    Plaintiff Loretta Schweinsburg regularly purchased and consumed Hamburger Helper from

24   California grocery stores during the Class Period. ··she personally consumed approximately two kilograms

25

26

27   37   Andrew Collier, Deadly Fats: Why Are We still Eating Them'!, The Independent (UK}, June 10, 2008.
28   38Mozaffarian, 354 NEW ENG. J. MED. at 1610; see also Steen, Stender, High Levels of Industrially
     Produced Trans Fat in Populai· Fast Food, ~54 NEW ENG. J. MED. 1650, 1652 (2006).
                                                           11

                                              CLASS ACTION COMPLAINT
Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.24 Page 14 of 25




 1 of PHO during the Class Period from Hamburger Helper. This consumption caused permanent harm to

 2   herbody.

 3          72.     Plaintiff consumed a dangerous amount of an illegal and dangerous food additive.

 4          73.     California common law has long imposed on manufacturers of food an implied "warranty

 5   extended to every consumer is that the food is fit for the purpose for which it was intended, namely, for

 6   human consumption." Klein v. Duchess Sandwich Co., 14 Cal. 2d 272,284 (1939). Regardless ofits intent,

 7   such warranty was conveyed by General Mills in all of its sales, relied upon by Schweinsburg in all of her

 8 purchases, and violated by the intentional addition of trans fat to General Mills' Hamburger Helper.

 9

10                 VI.     THE USE OF PHO IN HAMBURGER HELPER WAS UNFAIR.

11          74.     General Mills' use of PHO in Hamburger Helper was always unnecessary. There were

12   severaJ safe substitutes for PHO and artificial trans fat throughout the Class Period.

13          75.     During the Class Period, most manufacturers of competing packaged food products

14   responsibly decided to refrain from adding artificial trans fat to their products.

15          76.     Although commercially viable alternative formulations and substitutes for PHO were

16   available, General Mills electsq not to use them in Hamburger Helper in order to increase its profits at the

17   expense of consumers' health. :
18          77.     General Mills' practices as described herein were "unfair" within the meaning of the Unfair
                                                                .   .
19   Competition Law because Defendants' conduct was immoral, unethical, unscrupulous, or substantially

20   injurious to consumers, and the utility of the conduct to DefendantG docG not outweigh the gravity    of the
21   harm to class members.

22          78.     General Mills was well aware of the health risks associated with artificial trans fat

23   consumption throughout the Class Period yet chose to continuing using PHO as an ingredient.

24          79.     Although commercially viable alternative formulations and substitutes for PHO were

25   available, General Mills elected not to use them in Hamburger Helper in order to increase its profits at the

26   expense-of consumers' health. -

27          80.     As early as 2008, General Mills claimed to be in the process of reformulating some' of its

28   products to reduce PHO content in light of medical studies demonstrating the numerous health hanns

                                                           12

                                              CLASS ACTION COMPLAINT
Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.25 Page 15 of 25




 1   associated with the conswnption of artificial trans fat. 39

 2                    General Mills has acknowledged that, "health officials ... recommend eating the least

 3   amount of trans fat as possible." Id

 4             82..   J.n its 20 l Oannual report, General Mills acknowledged "consumer concerns regarding the

 5   health effects of ingredients such as . . . trans fats."

 6                    Though General Mills claimed to be reformulating most of it!:l products to eliminate PHO

 7   in the interest of public health, it simultaneously resisted the FDA' s efforts to ban the use of PHO in foods.

 8             84.    In 2013, the FDA tentatively detennined that "industrially-produced trans fatty acids, or

 9   trans fat, are not generally recognized as safe (GRAS) for any use in food based on current scientific

10   evidence establishing the health risks associated with the consumption of trans fat." 40
11             85.     In a comment responding to the FDA' s tentative determination, General Mills argued that

12   "PHOs are fundamentally safe at low levels" and urged the FDA to consider implementing limits 011:PHO

13   use, rather than banning it.

14             86.    In its Final Determination Regarding Partially Hydrogenated Oils, the FDA stated it "does

15   not agree that such a threshold bas been identified based on the available scierice."41
16             87.    Further, the FDA n~ted that, contrary to General Mills' assertion, "no comments provided

17   evidence that any nses of PHOs meet the GRAS standard, or evidence that ·would establish a safe threshold

18   exposure level." Id. at 34666.

19             88.    While the addition of PHO to Hamburger Helper may have some utility to General Mills

20   in that it allowed it to realize higher profit margins than safe ingredients, this utility is small and far

21   outweighed by the gravity of the serious health hann General Mills inflicted upon consumers.

22             89.    Defendants' conduct injured competing manufacturers of similar products that did not

23   engage in its unfair, immoral behavior, especially given the Iimited retail shelf space.

24             90.    Moreover, Defendants' practices violated public policy as declared by specific

25   constitutional, statutory, or regulatory provisions, including the FDCA, the Food Additives Amendment
26
27   39   See https://ask.generalmills.com/s/article/What-are-trans-fats-and-why-do-food-manufacturers-use-
     them (last visited February 15, 2021 ).
28   40   78 Fed. Reg. 67169 (Nov. 8, 2013).
     41   80 Fed. Reg. 34650, 34653 (June 17, 2015).
                                                            13

                                               CLASS ACTION COMPLAINT
Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.26 Page 16 of 25




 1 of 1958, Health & Safety Code § 110545, and California Education Code § 49431. 7.

 2             91    Defendants' actions also violated public policy by causing the United States, California,

 3   and every other state to pay-via Medicare, Medicaid, Affordable Care Act Exchange :mb3idies, veterans'

 4   health programs, public employee and retiree health insurance-for treatment of trans fat-related illnesses.

 5             92.   Further, the injury to consumers from Defendants' practices was substantial, not

 6   outweighed by benefits to consumers or competition, and not one that consumers themselves could

 7   reasonably have avoided. Rather, the burden of avoiding dangerous and unapproved food additives is not

 8   reasonably placed on the general public, who have varied levels of education and familiarity with food

 9   safety; but rather on the manufacturers of food; both as a matter of equity and as a matter of efficiency.

               93.   These unfair acts were also oppressive and malicious. General Mills lmcw that PHO causes

11   death and disease, and that most competing packaged food manufacturers did not use PHO for this reason.

12   It nonetheless decided to place its desire for profit above the health of its customers.

lJ      VII.     DEFENDANTS' PRACTICES WERE HUNLAWFuv~ WITHIN THE l\iIEANING OF

14                               THE CALIFORNIA UNFAIR COMPETITION LAW.

15             94.   Defendants' practices as described herein are "unlawful" within the meaning of the
l6   California Unfair Competition Law because PHO is not Generally Recognized as Safe (GRAS).

17   Therefore, Defendants' use of PHO was unlawful under 21 U.S.C. § 342.
               95.   The PHO used in Hamburger Helper appears nowhere on the FDA's list of the hundreds
18
     of substances it considers GRAS. See 21 C.F.R. §§ 181, 182, 184 and 186.
19
               96.   PHO also fails to meet the fundamental requirement for GRAS status-that the substance
20   is safe. In fact, the FDA has explicitly recognized that there is no safe level of artificial trans fat
21   consumption.

22             97.   Under the Food Additives Amendment of 1958, which amended the FDCA, all food

23   additives are unsafe unless they (1) fall within a specified exemption to the statute's definition of food
     additive, or (2) their use is pursuant to FDA approval. Because the PHO used in Hamburger Helper do not
24
     meet either of these exceptions, they are, and long have been, unsafe and unlawful for use in food under
25
     21 U.S.C. § 342.
26             98.   On November 8, 2013, the FDA tentatively determined PHO is not GRAS. 78 Fed. Reg.

27   67169 (November 8, 2013).
28             99.   On June 17, 2015, after extensive public comment, the FDA determined trans fat is not

                                                           14

                                              CLASS ACTION COMPLAINT
Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.27 Page 17 of 25




 1 GRAS. 80 Fed. Reg. 34650 (June 17, 2015).

 2          100.    At no point during the Class Period was there a !;Cientific com;cmms that PHO was safe.
 3   Indeed, for more than two decades, the scientific consensus has been that it is unsafe.
            101.    In using PHO as a food additive prior to 2015, Defendants failed to submit a food additive
 4
     petition and failed to undertake a GRAS self-determination.
 5
            102.    Defendants' conduct was further "unlawful" because it violated the Federal Food, Drug
 6
     and Cosmetic Act ("FDCA"), specifically,
 7
        •   21 U.S.C. § 331(a);
 8      •   21 U.S.C. § 33l(b);
 9      •   21 U.S.C. § 33l(c); and
        •   -21 U.S.C. § 348
10
            103.    Defendants' conduct further violated the California Sherman Food, Drug, and Cosmetic
11
     Law. Defendants' conduct also violates California's Health and Safety Code, which prohibits the
12
     manufacture, delivery, and sale of food that "contains any poiconouG or deleterious substance that-may
13
     render it injurious to health of man or any other animal that may consume it." Id at§ 110545.
14
                                                VIII.    INJURY
15
        A. Actual, Present, Physical Injury
16
            104.    General Mills' unlawful and unfair acts physically damaged and deformed Schwcinsburg's
17
     brain, blood, arterial, venous, lymphatic, and immune cells, which in turn damaged her brain, immune,
18
     glucoregulatory and cardiovascular systems. The physical pathways by which this damage was caused was
19   established by scientists well before the Class Period, which is why they condemned, in the strongest tcm1s,
20
     the behavior of companies like General Mills that added trans fat to food. These pathways are shown in
21   this illustration which appeared in the April 13, 2006 issue of the New England Journal of Medicine.
22
23

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                                             CLASS ACTION COMPLAINT
Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.28 Page 18 of 25




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17
              l 05.   General Mills was
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                                          at all. times aware
                                                         .
                                                              .thaOi .                       was ca~tsing
                                                                                                .     .,
                                                                                                          physical harm to its custonitrs. It

      was also aware its competitors largely di,dnot add trai1s fat .to. their packaged food products .. General Mills,
18                                   '                                      .       .


19
      however, continued to knowingly poison _Sch~einsburg and millions of other people.

20            l 06.   Throughout the Cbss Period, Hamburger Helper contained a.i1 unsafe amount of artificial

21    trans fat which .rendered them unfit foqheir ordinary_\1se.

22        B. Substantial and M~asurabl~ Increase i~ Ri~k                                 of Disease and Early Death ..
              107.    General Mills' conduct caused Schweinsburg the further injury of permanently placing her
23                                                                     .                 .
      at a substantially higher risk of.disease and
                                                 .
                                                    d~ath,
                                                     . .
                                                           ·in particular
                                                               .
                                                                          heart
                                                                        . .  . .
                                                                                disease,
                                                                                    .                          type-2 diabetes, and cancer.
24                                                   .,
                                                               '




              108.    Schwein!lburg'!l;increa!led rick ic meafmrabie and quantifiable by ~pidemiologi!Jt!J, who have
25
26.   large ctudic!J from \Vhich.they.can.and.havo.calculatcd suohjncr.eaGcd.ri::ik ofdcath and.di::ien::ic from.trans.

      fat consumption.'These epidemiological studies include:·
27
28 .. ·           •   T~e Nurse( Health_ Study

                  •   The Framingham Heart Sn1dy
                                                                                    16

                                                                   . CLASS ACTIO!'J COMPLAINT
Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.29 Page 19 of 25




 1               •   Health Professionals Follow-up Study

 2               •   Australian Longitudinal Study of Women's Health

 3               •   PREvenci6n con Dleta MEDiteminea (PREDIMED) study
 4
         C. Economic Iniury
 5
             109.    During the Clao::; Period, Hamburger Helper was made with added trano fat, and therefore
 6
     was not fit for human consumption, and had a value of $0 or less. The reason it had a value of$0 or less is
 7
     because of the unfair conduct described in this Complaint, and for no other reason.
 8
             110.    Ms. Schweinsburg was unaware that Hamburger Helper was poisonous when she
 9
     purchased them. She surrendered the purchase price of Hamburger Helper because she believed it was fit
10
     for human conrmmption under California law, and ohe \VOuld have surrendered no money if Ghc had known
11
     of General Mills' conduct.
12
             111.    Plaintiff purchased Hamburger Helper in California grocery stores in reliance on the
13
     assumplion tl1at food sold for human cousumption in hug~ stores would co.mply with fed~rnl and Califinuia
14
     food 3afety law3 which prohibit the sale of food containing pobonou::; nnd dclctcriou::; ::;ub3tnncc::;.
15
     Schweinsburg had no obligation to investigate if food sold for human consumption had illegal and
16
     poisonous ingredients, ratheJ·, th~ law   or California granted her an entitlement to assume that food sold in
17
     sealed packages is legal to sell and safe to consume.
18
     --- --·112.     Conversely; ·Ge11e1al Milts- had an ·unshiftable ·and· unwaivable duty· lo ensure ·aU-'lhe
19
     ingredients in the products it sold as food in California were legal and not poisonous. Aware of this duty,
20
     General Mills choose to disregard it in order to incrca3c it::; profit::;,   a'.l   it3 artificial trnns fat wa3 cheaper
21
     than the safe natural fats used by its competitors. Doth the physical and economic. injuries Schwcinsburg
22
     suffered are the direct and but-for results of General Mills' decision to add trans fat to Hamburger Helper.
23
             113.    Plaintiff suffered an economic injury in an amount equal to the amount she paid for
24
     Hamburger Helper, as well as medical monitoring costs. These economic injuries are the direct result of
25
     General Mills' addition of ;irtificial trans fat to Hamhurger Helper, anrl woulcl not have or.curred h11t for
26
     the conduct described in this complaint.
27
             114.    Plaintiff was not injured merely by purchasing products that were illegally and unfairly
28
     sold, but by paying money for producto that, because o_fGeneral Mills' conduct, had no economic value.
                                                             17

                                                CLASS ACTION COMPLAINT
Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.30 Page 20 of 25




 1          115.    Had General Mills not violated Health & Safety Code § 110545, Plaintiff would have

 2   received value for her money, but because General Mills did violate§ 110545, she paid good money for a

 3   product with no value. She lost money when she received inedible poison from Defendant, not food fit for

 4   human consumption.

 5                                       IX.     DELAYED DISCOVERY

 6          116.    Plaintiff did not discover that Defendants' behavior was unfair and unlnwful until February

 7 2022, when she learned General Mills had been selling Hamburger Helper illegally for years. Until this

 8 time, she lacked the knowledge regarding the facts of her c;laims against General Mills.

 9          117.    Specifically, throughout the Class Period, Plaintiff was generally aware that consuming

10   trans fat caused health problems.

11          118.    However, during this time, Plaintiff did not know that partially hydrogenated oil was the

12   source of artificial trans fat in food until 2022, or otherwise understand the connection between partially

13   hydrogenated oil and trans fat.

14          119.    Ms. Schweinsburg first learned that PHO was the priniary source of artificial trans fat

15   during a meeting with her attorneys in F ebrnary 2022.

16          120.    Plaintiff is a reazonably diligent   oon□umer   \Yho exercised reasonable diligence in her

17   purchase, use, and consumption of Hamburger Helper. Nevertheless, she woul~ not have been able to

18 discover Defendants' unfair and unlawful practices and lacked the means to discover them given that, like

19   nearly all conmmers, she is not an expert on nutrition and does not typioaily read or have ready access to

20   scholarly journals such as The Journal of Nutrition, 42 The European Journal of Clinical Nutrition, 43 and

21   The New England Journal ofMedicine, 44 \~ here the scientific evidence of artificial trans fot's dangers was
                                                 1




22   published.

23

21    Poter M. Clifton ct nl., Trai·zs Fatty Acids In A.iipo~e Tissue And nre Food Supply Are Associated With
     42

     Myocardial Infarction, 134 J.NUTR. 874, 874-79_(2004). ·                                      ·
25
     43A. Tavani et al., Margarine intake and risk of nonfatal acute myocardial infarction in Italian women,
26   51 EUR. J. CUN. NuTR. 30-32 ( I 9.97) (estimating a 50 percerit greater risk of heart attack in women with
     high consumption of margarine, an association "independent ofbocly mass index, history of hypertension
27   and hyperlipidemia").                       ·                    ·
28   44 Mozaffarian, 354 NEW ENG. J. MED. at 1611 (" 10 to 19 percent of CHD events in the United States

     could be averted by reducing the intake of trans fat").
                                                          18

                                               CLASS ACTION COMPLAINT
  Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.31 Page 21 of 25




   1                               X.     ADDITIONAL TOLLING ALLEGATIONS

   2           121.    At all relevant times, General Mills   \VU3   aware that the con3umption of PHO cauced the

   3   health problems described herein.

   4           122.    As a food producer, General Mills had had a continuing and affirmative moral and legal

   5   obligation to refrain from selling food which contained poi3onou3 and dclctcriou::; ::;ubstance::; but chose to

   6   ignore this obligation to do so.

   7           12J.    Class members had no duty and no reason to inquire a::; to whether Hamburger Helper

   8   contained poisonous and deleterious substances in violation of state and federal food safety laws.

   9   California, as a matter of economic regulation, places the burden of ensuring packaged foods are

 10    wholesome and safe to eat on their manufacturers, not the general public

 11            124.    Reasonable con3umers, including Plaintiff, had no reason to suspect General Mills' unfair

 12    competition and violations of federal and state law prohibiting the sale of food containing poisonous and

 13    deleterious substances.

- 14 - · - - - 125. - Gefltial Mills owed a special duty to Plaintiff-and all Class Mcmbcrs,akin-to a fiduciary -- ---- -

 15    duty, which it violated by inserting an ingredient that it knew was toxic. During the entire Class Period,

 16    General Mills was aware its conduct was oppressive and cruel, causing permanent physical as well as

 17    economic injury, and consciously continued these acts for years while knowing the extent of the harm it

 18    was causiug. Equity and the public policy of California, embodied in its statutes, jointly demand, in such

 19    circumstance, that !aches and tolling cannot apply in such a way to permit Defendants to continue to enjoy

 20    the fruits of their intentional, cruel, oppressive, and unlawful acts.

 21                                     XI.   CLASS ACTION ALLEGATIONS

 22            126.    Plaintiff brings this action on behalf of herself and all others similarly situated (the

 23    "Class"), excluding Defendants' officers, directors, and employees, and the Court, its officers and their

 24    families. The Class is defined as:

 25                   All citizens of California who purchased Hamburger Helper, Tuna Helper, and/or
                      Chicken Helper containing partially hydrogenated oil in California between
 26
                      January 1, 2000 and December 31, 2016.
 27
               127.    Questions oflaw and fact common tq Plaintiff and the Class include:
 28
                   a. Whether Defendants' conduct constituted a violation of the unfair prong of
                                                              19

                                                CLASS ACTION COMPLAINT
 Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.32 Page 22 of 25




  1                     California's Unfair Competition Law;

  2                b. Whether Defendants' conduct constituted a violation of the unlawful prong of
                      California's Unfair Competition Law;
  3
                   c. Whether Defendants' conduct was                 immoral,    unethical,   unscrupulous,   or
  4                   substantially injurious to consumers;
  5                d. Whether the slight utility Defendants realized as a result of their conduct outweighs
                      the gravity of the harm the conduct caused to its victims;
  6
                   e. Whether Defendants' conduct violated public policy as declared by specific
  7                   constitutional, statutory, or regulatory provisions;
  8                f.      Whether the injury to consumers from Defendants' practices is substantial;
  9                g. Whether the injury to consumers from Defendants' practices is outweighed by
                      benefits to consumers or competition;
 10
                                           '
                   h. Whether Class members are entitl~d to restitution~
 11
                   1.      Whether Class members are entitled to an injunction and, if so, its terms; and
 12
                   J.      Whether Class members are entitled to any further relief
 13
                128.    By purchasing Hamburger Helper, all Class members were subjected to the same wrongful
 14
       conduct.
 15
                129.       Plaintiffs claims are typical of the Class's claims because all Class membersi..were
 16
       subjected to the same economic harm when they purchased Hamburger Helper and suffered economic
 17
       mJury.
 18
                130.       Plaintiff will fairly and adequately protect the interests of the Class, has no interests that
 19    are incompatible with the interests of the Class, and has retained counsel competent and experienced in
 20
       class litigation.
 21
                131.       The Class is suftkiently numerous, as it includes thousands of individuals who purchased
 22
       Hamburger Helper in California during the Class Period.
 23
                132.       Class representation is superior to other options for the resolution of the controversy. The
 24
       relief sought for each Class member is small, as little as one dollar for some Class members. Absent the
 25
       availability of class action procedures, it would be infeasible for Class members to redress the wrongs
-26-           -- - - - ----
       done to them.
 27
                133.       Questions of law and fact common to the Class predominate over any questions affecting
 28
       only individual members.
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                                                    CLASS ACTION COMPLAINT
Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.33 Page 23 of 25




 1                                              First Cause of Action

 2                        Unfair Competition Law, Bus. & Prof. Code§§ 17200 et seq.

 3          134.    In both causes of action, Plaintiff realleges and incorporates by reference each and every

 4   allegation contained elsewhere in the Complaint, as if fully set forth herein.

 5          Unfair Conduct

 6          135.    The business practices and omissions of Defendants as alleged herein constitute "unfair"

 7   business acts and practices in that Defendants' conduct is immoral, unethical, unscrupulous, and

 8 substantially injurious to consumers and the utility of its conduct, if any, does not outweigh the gravity of

 9 the harm to Defendants' victims.

10          136.    Further, Defendants' practices were unfair because they violated pu,blic policy as declared

11   by specific constitutional, statutory, or regulatory provisions, including those embodied in the FDCA,

12 California Health and Safety Code, and California Education Code. -

13          13 7.   Moreover, Defendants' practices were unfair because the injury to consumers from

14   Defendants' practices was substantial, not outweighed by benefits to consumers or competition, and not

15   one that consumers themselves could reasonably have avoided or should be obligated to avoid.

16          Unlawful Conduct

17          J38.    Defendants hav~ made and distributed, in interstate commerce and in this county, products

18 that contained unlawful food ·additives. Hamburger Helper was placed into interstate commerce by

19 General Mills.

20          139.    Defendants' conduct was "unlawful" because it violated the Federal Food, Drug, and

21   Cosmetic Act ("FDCA"), specifically, the Food Additives Amendment of 1958, which deems a food

22   additive unsafe unless it has met two exceptions, neither of which the PHO used in Hamburger Helper

23   products has met. 21 U.S.C. §§ 348,342.

24          140.    Defendants' conduct violated California's Sherman Law, because Hamburger Helper

25   contained PHO, which is a "poisonous or deleterious substance that may render it injurious to health of

26   man or any other animal that may consume it." Health & Safety Codt: § 110545.

27          141.    The use of artificial trans fat in Hamburger Helper thus constituted violations of the FDCA

28   and the Sherman Law and, as such, violated the "unlawful prong;' of the UCL.

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                                             CLASS ACTION COMPLAINT
Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.34 Page 24 of 25




             142.     Plaintiff suffered injury in fact and lost money or property as a result of Defendants'

 2   unlawful acts: she was denied the benefit of the bargain when she decided to purchase Hamburger Helper

 3   over competing products that were less expensive and/or contained no artificial trans fat.

 4           143.     Had Plaintiff been aware of Defendants' unlawful conduct, she would not have purchased

 5   Hamburger Helper.

 6           144.     Defendants' unlawful acts allowed it to sell more units of Hamburger Helper than it would

 7   have otherwise, and at a higher price, and higher margin.

 8           145.     Plaintiff seeks an order for the disgorgement and restitution of all revenue received by

 9   General Mills from the sale of Hamburger Helper and has no adequate remedy at law.

10                                             Second Cause of Action

11                               Breach oflmplied Warranty of Merchantability

12           146.     Plaintiff realleges and incorporates by reference each and every allegation contained

13   elsewhere in the Complaint, as if fully set forth herein.

14           147.     General Mills, through its acts and omissions S€t forth herein, in the sale, marketing and

1S promotion of Hamburger Helper, made representations to Plaintiff and the Class that Hamburger Helper

16   was safe to consume.

17           148.     General Mills is a merchant with respect to the goods of this kind which were sold to

18   Plaintiff and the Class, and there was in the sale to Plaintiff and other members of the Class an implied

19   warranty that those goods were merchantable, which in the case of food means they are fit from human

20   consumption and do not contain illegal and toxic additives.

21           149.     General Mills breached that implied warranty, however, in that Hamburger Helper was not

22   fit for its ordinary purpose in that it was not safe, wholesome, and legal food products.

23           l 50.    During the Class Period, Hamburger Helper were not fit for human conimmption and had

24   a value of $0.

25           151.     As an actual and proximate result of Defendants' conduct, Plaintiff and the Class did not

26   receive goods as impliedly warranted by General Mills to be merchantable in that they were not fit· for

27   their ordinary purpose of human consumption.

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                                              CLASS ACTION COMPLAINT
                  Case 3:22-cv-00403-RBM-JLB Document 1-2 Filed 03/28/22 PageID.35 Page 25 of 25




                               152.   Plaintiff and the Class have sustained damages as a proximate result of the foregoing

                   2   breach of implied warranty in the amount of Hamburger Helper' purchase price.

                   3                                      XII.       PRAYER FOR RELIEF

                               WHEREFORE, Plaintiff, on behalf of herself, all others similarly situated, and the general public,

                   5   prays for judgment against General Mills as follows:

                   6      A.      An order confirming that thi3 cla33 action is properly maintainable as a olass action as defined

                   7              above, appointing Plaintiff and her undersigned counsel to repreDent the Clas!., and requiring

                   8              General Mills to bear the cost of class notice;

                   9      B.      An award of actual damages, punitive damages, and restitution of $60 million;

                  10      C.      Declaratory relief that the conduct alleged herein is unlawful;

                  11      D.      Pre-judgment, and post-judgment interest; and ·

                  12      E.      An award of attorney fees and costs.

                  13                                       XIII. .    NO JURY DEMAND

                               Plaintiff makes no jury demand.

                  15   DATED: February 22, 2022                               Respectfully Submitted,

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                                                                            · THE WESTON FIRM
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                                                                             GREGORY S. WESTON
                  19                                                          Counsel for Plaintiff Loretta Schweinsburg
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                                                                 CLASS ACTION COMPLAINT
